                   1:24-cv-01125-JBM-JEH # 10          Filed: 05/21/24          Page 1 of 4




                               UNITED STATES DISTRICT COURT
Shig Yasunaga                      CENTRAL DISTRICT OF ILLINOIS
CLERK OF COURT
                                           OFFICE OF THE CLERK




                    NOTICE OF RIGHT TO CONSENT TO DISPOSITION OF A
                    CIVIL CASE BY A UNITED STATES MAGISTRATE JUDGE



         In accordance with the provisions of 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73, you are
  hereby notified that, upon the consent of all the parties in a civil case, the Court may appoint a
  United States Magistrate Judge of this District, who is specially certified to conduct any or all
  proceedings, including trial of and the entry of a final judgment. A copy of the appropriate
  consent form is attached.

         You should be aware that your decision to consent, or not to consent, to the disposition of
  your case before a United States Magistrate Judge is entirely voluntary and should be
  communicated to the Clerk of the Court. Only if all the parties to the case consent to the
  reference to a Magistrate Judge will either the District Judge or Magistrate Judge to whom the
  case has been assigned be informed of your decision. Neither a District Judge nor a Magistrate
  Judge will attempt to persuade or induce any party to consent to the reference of this case to a
  Magistrate Judge.

         If all parties consent, the form is to be e-signed (s/NAME) by all and e-filed with the
  Court pursuant to guidance in the Court’s Local Rules 11.4(A) or (B). A certificate of service is
  not required to be filed with this document.




  NOTE: The Court has approved s/NAME as an official signature on the Consent Form.
  Copies of the form and the Court’s Local Rules are available at www.ilcd.uscourts.gov.




      Peoria Division           Urbana Division         Springfield Division          Rock Island Division
      100 N.E. Monroe St.       201 S. Vine St.         600 E. Monroe St.             211 19th St.
      Room 309                  Room 218                Room 151                      Room 40
      Peoria, IL 61602          Urbana, IL 61802        Springfield, IL 62701         Rock Island, IL 61201
      309.671.7117              217.373.5830            217.492.4020                  309.793.5778
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AO 85 (Rev. 07/11 Court) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                          UNITED STATES DISTRICT COURT
                                                                              for the
                                                                 Central District of Illinois

                                                                                   )
                                  Plaintiff                                        )
                                     v.                                            )     Civil Action No.
                                                                                   )
                                Defendant                                          )


                      NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                       TO EXERCISE JURISDICTION


         In accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United States
magistrate judge of this district court is available to conduct any or all proceedings in this case including a jury or nonjury trial,
and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all
parties voluntarily consent.
        You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s jurisdiction
from being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the district judge to whom the case has been assigned.
         An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for
this judicial circuit in the same manner as an appeal from any other judgment of this district court.


CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
In accordance with provisions of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have a United States
magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final judgment, and conduct
all post-judgment proceedings.
              Parties’ printed names                                      Signatures of parties or attorneys                       Dates




                                                                       Reference Order

         IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order
the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                      District Judge’s signature



                                                                                                       Printed name and title

Note:      Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
           magistrate judge. Do not return this form to a judge.
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TO E-FILE THE CONSENT TO MAGISTRATE JUDGE FORM:

1.    Scan and save the form in pdf format.

2.    Log on to CM/ECF.

3.    Click on Civil on the top left hand corner of the blue toolbar.

4.    Click on Other Filings/Other Documents.

5.    Choose “Proposed Consent to Jurisdiction by Magistrate Judge” from drop down box.
      Click next.

6.    Enter case number. Click next.

7.    Browse for the saved form. Click next.

8.    Case confirmation screen appears. Click next.

9.    Docket text appears. Click next.

10.   NEF appears. Consent has been filed.

11.   Place the original document in your file. (Pursuant to Local Rule 11.4(B)(3) - “The
      filing party must retain the original document until one year after the date that the
      judgment has become final by the conclusion of direct review or the expiration of the
      time for seeking such review has passed.”)
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RULE 11.4   ELECTRONIC SIGNATURES

     (A)    Signatures by Electronic Filers.

            (1)    Use of a log-in and password for electronic filing constitutes and has the
                   same force and effect as the filer’s signature for purposes of Fed. R. Civ.
                   P. 11, the Local Rules of this Court, and any other purpose for which a
                   signature may be required in connection with proceedings in this Court.

            (2)    Electronic filers should sign in the following manner: “s/ Jane Doe.”
                   Documents signed by an attorney must be filed using that attorney’s log-in
                   and password; they may not be filed using a log-in and password
                   belonging to another attorney.

            (3)    Where multiple attorney signatures are required, such as on a joint motion
                   or a stipulation, the filing attorney may enter the “s/” of the other attorneys
                   to reflect their agreement with the contents of the documents.


     (B)    Signatures by Non-Electronic Filers.

            (1)    If an original document requires the signatures[s] of one or more persons
                   not registered for electronic filing (e.g. settlement agreement with a pro se
                   party, or a witness’ affidavit), the filing party or its attorney must initially
                   confirm that the content of the document is acceptable to all persons
                   required to sign the documents. Original signatures of all non-electronic
                   filers must be obtained before the document is filed.

            (2)    The filing party must either redact the original signature[s] and efile the
                   redacted version of the document, or provide the redacted version to the
                   Clerk’s Office for scanning and electronic filing. The filed document must
                   indicate the identity of each non-registered signatory in the form “s/Jane
                   Doe”. A certificate of Service upon all parties and/or counsel of record
                   must be filed with the document.

            (3)    The filing party must retain the original document until one year after the
                   date that the judgment has become final by the conclusion of direct review
                   or the expiration of the time for seeking such review has passed.

            (4)    The electronically filed document as it is maintained on the court’s servers
                   constitutes the official version of that record. The court will not maintain a
                   paper copy of the original document except as otherwise provided in these
                   Rules.

     (C)    Disputes Over Authenticity.

            Any party or non-filing signatory who disputes the authenticity of an
            electronically filed document or the signatures on that document must file an
            objection to the document within 14 days of receiving the notice that the
            document has been filed.
